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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

STACEY BADON on behalf of herself and all )                CIVIL ACTION NO.: 19-12317
those similarly situated,                 )
                                          )
                                          )                SECTION: D
        Plaintiff,                        )                JUDGE WENDY B. VITTER
                                          )
        vs.                               )
                                          )                MAGISTRATE: 3
                                          )                DANA M. DOUGLAS
BERRY’S RELIABLE RESOURCES, LLC )
AND RHONDA WILLIAMS,                      )
                                          )
        Defendants.


MEMORANDUM IN SUPPORT OF MOTION TO CONDITIONALLY CERTIFY
 FLSA COLLECTIVE ACTION AND TO FACILITATE NOTICE UNDER 29
                       U.S.C. § 216(b)

          Plaintiff, Stacey Badon, on behalf of herself and all other similarly situated

individuals, respectfully submits this Memorandum in Support of Motion to

Conditionally Certify FLSA Collective Action and Facilitate Notice Under 29 U.S.C. §

216(b).

I.        INTRODUCTION AND SUMMARY OF ARGUMENT

          Plaintiff has filed a Collective Action Complaint (Rec. Doc. 1), asserting

collective action claims on behalf of herself and a proposed collective class seeking

unpaid overtime wages that Defendants, Berry’s Reliable Resources, LLC and Rhonda

Williams (“Defendants”) – who have been sued as Plaintiff and the FLSA Collective

Action Plaintiffs’ joint employers – declined to pay to them in direct violation of the

FLSA.1




1
 In addition, Plaintiff Badon has filed an individual claim under the Louisiana Final Wage Payment Act,
La. R.S. 23:631, et seq.
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           Under the FLSA and the case law interpreting it, individuals may bring

“collective actions” on behalf of themselves and all others “similarly situated.”2 Here, as

a result of Defendants’ unlawful policies and practices, Plaintiff has filed this Motion

pursuant to the FLSA’s collective action provision in order to provide workers similarly

situated to Plaintiff with a reasonable opportunity to collectively litigate their claims.3

Plaintiff now specifically requests that the Court enter an order conditionally certifying

the following class of similarly situated individuals, referred to in their Complaint as the

“FLSA Collective Class”:

           All persons employed by Defendants as home health care workers since
           February 2017 who were paid on an hourly basis but were not paid at an
           overtime rate of one and one-half times their hourly rate of pay for each
           hour worked in excess of 40 per week in violation of the Fair Labor
           Standards Act, 29 U.S.C. 201, et seq., due to Defendants’ deliberate and
           willful refusal to pay overtime that was owed under the FLSA.

           Members of the FLSA Collective Class are similarly situated for purposes of

notice and conditional certification because: (1) they were all employed by Defendants

to perform home health care services; (2) they were all paid by the hour (although their

rates of pay may have differed, that is immaterial to the issue of whether they were paid

overtime under the FLSA and does not preclude certification); (3) they all are or were

subject to similar terms and conditions of employment, namely they were scheduled to

work for Defendants based on Defendants’ clients’ schedules, they had no ability to make

their own schedules, they had no ability to contract with their own clients, and they were

dependent upon Defendants for work; and (4) they were all not paid overtime wages for

any or all hours worked in excess of 40 per week in direct violation of the overtime

provisions of the FLSA.

2
    29 U.S.C. § 216(b).
3
    Id.


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       Defendants have employed many persons as home health care workers that they

paid by the hour that they required to work in excess of 40 hours per week, but refused to

pay one-and-one-half times their regular rate of pay for all hours worked in excess of 40,

despite knowing that these overtime wages were due and owing. Instead, Defendants

paid these workers an hourly rate of pay, without regard to the fact that they worked in

excess of 40 hours per week and without regard for the fact that they were not exempt

from the overtime provisions of the FLSA under the law and that Defendants knew they

were not exempt. The precise number of persons who fall within the provisions of the

proposed FLSA Collective Class will be readily ascertainable from Defendants’ records

and it is likely that these persons will desire to recover damages for the unpaid overtime

wages owed to them, upon notification of this action.

       Expedient conditional certification of the FLSA Collective Class and notice to its

potential members is necessary because the limitations period on FLSA Collective Class’

claims does not cease to run until an individual opts in to this case. Thus, each of

Defendants’ employees who are or were subject to Defendant’s deliberate and illegal

compensation schemes are losing money (in the form of damages) with each day that

passes without receiving notice of this lawsuit.

       Defendants should be in possession of the last known address and/or email

addresses of these potential members of the FLSA Collective Class. Because there are

many other similarly situated current or former workers who may not be aware of this

lawsuit or of their right to proceed in this forum, Plaintiff respectfully requests

permission to send notice to putative members of the Collective Class at their last known




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address to make those individuals aware of their rights and to allow them to make an

informed decision on whether to opt in to this collective action.

II.     FACTUAL BACKGROUND

        Defendants are in the business of providing home health care services in the

Greater New Orleans area.4 As part of their operations, Defendants hire persons to serve

as home health care workers, which is an essential function of their operations.5 Though

Defendants may pay each of these persons a different hourly rate, all of these persons are

paid hourly.6 Each home health care worker is dependent upon Defendants’ contracts

with clients and the governmental agency or insurance company who pays for their care

for work; home health care workers do not contract independently for clients.7

Defendants regularly require home health care workers to work in excess of 40 hours per

week.8 However, Defendants have engaged in a widespread pattern and practice of not

paying these workers overtime pay when they work in excess of 40 hours per week,

regardless of the fact that these persons are not exempt from the overtime provisions of

the FLSA.9

        In April 2016, Plaintiff began working for Defendants as a home health care

worker.10 For the entire time that Plaintiff worked for Defendants, she received her

schedule from Defendants and had no independent ability to determine with whom she

would work.11 Defendants controlled how, where and when she performed her job duties


4
   Ex. A, Declaration of Stacey Badon at ¶2.
5
  Id. at ¶3.
6
  Id.at ¶6.
7
  Id.at ¶12.
8
  Id. at ¶7.
9
  Id. at ¶8; see also, Home Care Ass’n of America v. Weil, 799 F.3d 1084 (D.C. Cir. 2015)(home health care
workers held to be employees, not independent contractors).
10
    Ex. A, Declaration of Stacey Badon at ¶4.
11
    Id. at ¶11.


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for Defendants.12 Plaintiff routinely worked for Defendants for more than 40 hours per

week.13 However, due to Defendants’ payment scheme whereby it did not pay overtime

to any of its hourly employees due, Plaintiff was not paid one and one-half times her

hourly rate for each hour in excess of 40 per week that she worked for Defendants.14

        In June 2019, Anthony Badon began working for Defendants as a home health

care worker.15 For the entire time that he worked for Defendants, he received his schedule

from Defendants and had no independent ability to determine with whom he would

work.16 Defendants controlled how, where and when he performed his job duties for

Defendants.17 Mr. Badon routinely worked for Defendants for more than 40 hours per

week.18 However, due to Defendants’ payment scheme whereby it did not pay overtime

to any of its hourly employees, Mr. Badon was not paid one and one-half times his hourly

rate for each hour in excess of 40 per week that he worked for Defendants.19

        Plaintiff’s and Anthony Badon’s experiences were not unique.                       They are

personally aware that Defendants paid other employees at an hourly rate, required them

to work in excess of 40 hours per week and did not pay them overtime for any hours

worked in excess of 40 per week.20 Moreover, Defendants’ own documents reveal that

Defendants failed to pay overtime to hourly employees. Though discovery is in the early

stages, even a cursory review of the paystubs in Plaintiff Badon’s possession reveal that

she often worked in excess of 80 hours in a two-week period (which necessarily means


12
   Id. at ¶13.
13
    Id. at ¶7.
14
    Id. at ¶¶8, 9.
15
    Ex. B, Declaration of Anthony Badon at ¶4.
16
    Id. at ¶¶11-13.
17
   Id.
18
    Id. at ¶7.
19
    Id. at ¶8.
20
    Ex. A, Declaration of Stacey Badon at ¶9; Ex. B, Declaration of Anthony Badon at ¶9.


                                                    5
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that she worked in excess of 40 hours per week for at least one week in the two-week

period), she was only ever paid at her flat rate of pay for the hours that she worked, in

direct violation of the FLSA.21 Indeed, the law is blatantly clear that home health care

workers are not exempt from the overtime provisions of the FLSA.22

         The precise hours that Plaintiff and the FLSA Collective Action Plaintiffs worked

for Defendants should be readily identifiable from Defendants’ records.23 However,

Plaintiff and Mr. Badon’s schedules were similar to those worked by other home health

care workers24 and it is plain that most, if not all, of these employees were also denied

overtime pay.25

         The FLSA requires Defendants to pay employees who work over 40 hours in one

workweek overtime compensation “not less than one and one-half times the regular rate

at which they are employed.”26 Defendants’ actions of paying hourly home helath care

employees at their straight time hourly rate of pay, regardless of the hours that they

worked in excess of 40 per week, thereby failing to pay them overtime pay rate violates

the FLSA.27 Due to the intentional, willful, and unlawful acts of Defendants, Plaintiff

and the FLSA Collective Plaintiffs suffered lost overtime compensation, plus liquidated

damages. Plaintiff and the FLSA Collective Plaintiffs are additionally entitled to an

award of reasonable attorney’s fees and costs pursuant to 29 U.S.C. §216(b).




21
   Ex. C, Stacey Badon Paystubs.
22
   Home Care Ass’n of America v. Weil, 799 F.3d 1084 (D.C. Cir. 2015).
23
   Ex. A, Declaration of Stacey at ¶14.
24
   Ex. A, Declaration of Stacey Badon at ¶¶8, 9, 11; Ex. B, Declaration of Anthony Badon at ¶¶8, 9, 11.
25
   Id.
26
   29 U.S.C. 207.
27
   Id.


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III.     LAW AND ARGUMENT

         The FLSA’s “collective action” provision allows one or more employees to bring

a collective action on “behalf of himself or themselves and other employees similarly

situated.”28 The FLSA does not explicitly define the term “similarly situated;” however,

district courts have broad discretion to allow a party asserting FLSA claims on behalf of

others to notify potential “similarly situated” plaintiffs that they may choose to “opt in” to

the suit.29 Under Section 216(b), to successfully assert a collective action on behalf of a

collective class, an employee need only show that he is suing his employer for himself

and on behalf of other employees “similarly situated.”30 To be “similarly situated,” the

plaintiff’s claims and positions must be similar to those of the potential opt in plaintiffs,

but they need not be identical.31

         Court-facilitated notice to a class in a collective action under the FLSA is

warranted when a plaintiff demonstrates that there are others who may wish to opt in to

the collective action and who are “similarly situated” with respect to job requirements

and pay provisions.32 The standard for collective action notice is a “lenient” one,33 and

the plaintiff need only demonstrate a reasonable basis for his or her allegation that a class



28
   29 U.S.C. § 216(b).
29
   See, e.g., Hoffman-La Roche, 493 U.S. at 169.
30
   See, e.g., Mooney v. Aramco Servs. Co., 54 F.3d 1207, 1213-16 (5th Cir. 1995), overruled on other
grounds, 539 U.S. 90, 123 (2003).
31
   See, e.g., Kuperman v. ICF International, et al., No. 08-565, 2008 WL 4809167, at *5 (E.D. La. Nov. 3,
2008) (“In the end, § 216(b) of the FLSA does not require that plaintiffs be identical...”); Camp v. The
Progressive Corporation, et al., No. 01-2680, 2002 WL 31496661, *4 (E.D. La. Nov. 8, 2002) (same);
Allen, et al. v. McWane, Inc., No. 06-CV-158, 2006 WL 3246531, at *2 (E.D. Tex. Nov. 7, 2006) (same).
32
   See, e.g., Hipp v. Liberty Nat’l Life Ins. Co., 164 F.R.D. 574, 575-76 (M.D. Fla. 1996); Belcher v.
Shoney’s, Inc., 927 F.Supp. 249, 251 (M.D. Tenn 1996); Dybach v. State of Fla. Dept. of Corrections, 942
F.2d 1562, 1567-68 (11th Cir. 1991); Garner v. S.D. Searle Pharm., 802 F.Supp. 418, 419 (M.D. Ala.
1991).
33
   Mooney, 54 F.3d at 1214; Johnson et al. v. TGF Precision Haircutters, Inc., 319 F.Supp.2d 753, 754
(S.D. Tex. 2004) (commenting that the standard applied is a lenient one, usually resulting in “conditional
certification” of a representative class, to whom notice is sent and who receive an opportunity to “opt-in”).


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of similarly situated persons may exist.34 Court-authorized notice protects against

“misleading communications” by the parties, resolves the parties’ disputes regarding the

content of any notice, prevents the proliferation of multiple individual lawsuits, assures

joinder of additional parties is accomplished properly and efficiently, and expedites

resolution of the dispute.35

         A.       Collective Action Certification Is A Two-Stage Process

         Within the Fifth Circuit, courts, including those within the Eastern District of

Louisiana, have applied the two-stage approach to collective action certification that is

delineated in the case of Lusardi v. Xerox Corp.36 The first stage of the Lusardi analysis

– the one at issue in this Motion – is commonly known as the “notice stage” or

“conditional certification stage.” Mooney, 54 F.3d at 1213-14. The second stage is

routinely referred to as the “merits” stage.

         The standard for conditional certification at the notice stage is lenient “and

typically results in ‘conditional certification’ of a representative class.”37 Under such a

standard, “The plaintiffs’ burden is not heavy, the evidence needed to justify certification

34
   See, e.g., Lima v. International Century Catastrophe Solutions, Inc., 493 F.Supp.2d 793, 798 (E.D. La.
2007).
35
   Id., at 170-172.
36
   Lusardi v. Xerox Corp 118 F.R.D. 351 (D.N.J.1987), mandamus granted in part, appeal dismissed, 855
F.2d 1062 (3rd Cir.1988), vacated in part, modified in part, and remanded, 122 F.R.D. 463 (D.N.J.1988),
aff'd in part, appeal dismissed, 975 F.2d 964 (3rd Cir.1992); See, e.g., Lang v. DirecTV, Inc., et al., No. 10-
1085G1, 2011 WL 6934607, at *7 (E.D. La. Dec. 30, 2011) (the Lusardi approach is the “more common”
approach and is routinely employed by Eastern District of Louisiana); Fernandes da Silva v. M2/Royal
Construction of Louisiana, LLC, No. 08-4021, 2009 WL 3565949, at *3 (E.D. La. Oct. 29, 2009) (finding
that the two-stage approach in Lusardi is the predominant test for collective action certification in the Fifth
Circuit); Melson v. Directech Southwest, Inc., No. 07-1087, 2008 WL 2598988, at *4 (E.D. La. June 25,
2008) (applying the “preferred” Lusardi approach); Ebbs v. Orleans Parish School Board, No. 04-1198,
2007 WL 2127699, at *2 (E.D. La. July 24, 2007) (noting that the Fifth Circuit “historically” employs the
Lusardi approach); Kenyata-Bean, et al. v. Housing Authority of New Orleans, et al., No. 04-2592, 2005
WL 3543793, at *6 (E.D. La. Nov. 18, 2005) (Lusardi’s two-stage approach has been “unanimously
adopted” by district courts within the Fifth Circuit); England v. New Century Financial Corp., 370
F.Supp.2d 504, 509 (M.D. La. 2005) (“The Eastern District utilized the Lusardi approach because it found
that the Lusardi approach has been ‘embraced’ more often in the Fifth Circuit than the ‘Spurious Class
Action’ found in Shushan”36).
37
   Mooney, 54 F.3d at 1213-14; see also, e.g., Camp, 2002 WL 31496661, *4 (emphasis in original).


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is minimal, and the existence of some variations between potential claimants is not

determinative of lack of similarity.”38 Plaintiffs may meet this burden by making

allegations that the potential opt in plaintiffs were subject to a single decision, policy, or

plan.39 The court at this stage determines whether the plaintiff and potential opt in

plaintiffs are “similarly situated” based upon the allegations in a complaint and any

declarations that have been submitted.40

        Under the Lusardi two-stage approach, once the court makes the preliminary

determination that the similarly situated standard is met and conditionally certifies the

collective class, the case proceeds as a collective action throughout discovery.41

Discovery is relevant thereafter both as to the merits of the case and for the second step in

the collective action certification procedure, wherein the court evaluates conflicting

evidence developed in discovery to test the validity of its preliminary decision at the

notice stage.42 The court’s “similarly situated” analysis at the merits stage is typically



38
   Id.
39
    Mooney, 54 F.3d at 1213-14; see also, e.g., Lang, 2011 WL 6934607, at *7 (the similarly situated
standard was met where the plaintiffs and class members performed similar job functions under the same
employment scheme); Lackey, 2011 WL 6329909, at *3 (the similarly situated standard was met where the
defendant’s policies were company-wide); Fernandes da Silva, 2009 WL 3565949, at *5 (the similarly
situated standard was met where was met where the plaintiffs presented allegations that the defendant had a
systematic policy of denying overtime wages to plaintiffs and members of the class); Ebbs, 2007 WL
2127699, at *2 (the similarly situated standard was met where the plaintiffs and class members were
victims of the defendant’s common, potentially unlawful pay policy); Kenyata-Bean, 2005 WL 3543793, at
*7 (the similarly situated standard was met where the defendant had a common policy of denying overtime
to the plaintiffs and class members); Donohue v. Francis Services, Inc., No. 04-170, 2004 WL 1161366, at
*2 (E.D. La. May 24, 2004) (the similarly situated standard was met where employees were subject to the
same company-wide policies); Crain v. Helmerich and Paine International Drilling Company, No. 92-
0043, 1992 WL 91946, at *2 (E.D. La. April 16, 1992) (the similarly situated standard was met where
employees were subject to the same company-wide policy that deprived them of payment for time spent in
job-related meetings and training).
40
   Mooney, 54. F.3d at 1213-14; see also, e.g., Lang, 2011 WL 6934607, at *7; Lackey, et al. v. SDT Waste
& Debris Services, No. 11-1087, 2011 WL 6329909, at *3 (E.D. La. Dec. 19, 2011; Smith v. Offshore
Specialty Fabricators, Inc., No. 09-2985, 2009 WL 2046159, at *3 (E.D. La. July 13, 2009); Ebbs, 2007
WL 2127699, at *2; Kenyata-Bean, 2005 WL 3543793, at *7.
41
   Mooney, 54 F.3d at 1214.
42
   Id.


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precipitated by a defendant’s motion for decertification after discovery is complete.43 The

“similarly situated” determination is more stringent at the merits stage, because once the

notice and opt in period is complete, the court has the benefit of knowing the composition

of the collective action.44 Thus, allowing early notice and full participation by the opt in

plaintiffs via the conditional certification process “assures that the full ‘similarly situated’

decision is informed, efficiently reached, and conclusive.”45

         B.       Plaintiff Satisfies The “Similarly Situated” Standard For
                  Conditional Certification

         To satisfy the lenient “similarly situated” standard at the notice stage, Plaintiff

need only introduce allegations in his pleadings, evidence and the declarations submitted

herewith that he and the members of the FLSA Collective Class were subject to a single

decision, policy, or plan. Plaintiff readily meets this threshold. The declarations

submitted herewith shows that Defendants maintained common misclassification,

scheduling and compensation policies and/or practices applicable to Plaintiff and

members of the FLSA Collective Class, which violate the FLSA. Defendants’ common

policies and/or practices include:

     •   Requiring Plaintiff and the FLSA Collective Action Plaintiffs to work in excess of
         40 hours per week;
     •   Paying Plaintiff and the FLSA Collective Action Plaintiffs their hourly rate of
         pay, regardless of whether they worked in excess of 40 hours per week;
     •   Failing to pay Plaintiff and the FLSA Collective Action Plaintiffs overtime for
         hours worked in excess of 40 per week;


43
    Mooney, 54 F.3d at 1214 (“The second determination is typically precipitated by a motion for
‘decertification’ by the defendant after discovery is largely complete and the matter is ready for trial”); see
also, e.g., Kenyata-Bean, 2005 WL 3543793, at *6; Lackey, 2011 WL 6329909, at *3; Smith, 2009 WL
2046159, at *3; Williams, et al. v. Bally’s Louisiana, Inc., No. 05-5020, 2006 WL 1235904, at *2 (E.D. La.
May 5, 2006); Clarke v. Convergys Customer Mgmt Group, Inc., 370 F.Supp.2d 601, 604-05 (S.D. Tex.
2005).
44
   Mooney, 54 F.3d at 1214 (“At this stage, the court has much more information on which to base its
decision and makes a factual determination on the similarly situated question”).
45
   Sperling v. Hoffman-La Roche, Inc., 118 F.R.D. 392, 406-407 (D.N.J. 1988) aff’d, 493 U.S. 165 (1989).


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     •   Failing to keep accurate records of the hours Plaintiff and the FLSA Collective
         Action Plaintiffs worked; and
     •   Misleading Plaintiff and the FLSA Collective Action Plaintiffs about the law
         regarding overtime pay.

         Specifically, the declarations submitted herewith contains ample evidence that

Plaintiff is “similarly situated” to the FLSA Collective Action Plaintiffs and that

Defendants have violated the FLSA. The declarations of Plaintiff and Mr. Badon show

that they worked for Defendants for more than 40 hours per week.46 In addition, the

declarations and evidence shows that Plaintiff and the FLSA Collective Action Plaintiffs

were paid an hourly straight time rate of pay, regardless of whether they worked in excess

of 40 hours per week.47 Finally, the declarations also demonstrate that Plaintiff is aware

of other hourly personnel who were scheduled to work in this same manner and paid in

this same manner.48 The testimony of the Plaintiff in her declaration is supported by

Defendants’ own documents, which clearly show that hourly personnel for Defendants

were paid at their straight time rate of pay, regardless of the hours that they work for

Defendants and that they worked in excess of 40 hours per week for Defendants.49

         Because Defendants’ unlawful policies and practices apply to Plaintiff and all

potential members of the FLSA Collective Class, and because these policies and practices

similarly affect Plaintiff and each potential member of the FLSA Collective Class,

Plaintiff contends that conditional certification of the proposed FLSA Collective Class is

appropriate pursuant to 29 U.S.C. § 216(b). Conditional certification of the proposed




46
   Ex. A, Declaration of Stacey Badon at ¶7; Ex. B, Declaration of Anthony Badon at ¶7.
47
   Ex. A, Declaration of Stacey Badon at ¶8.
48
   Id. at ¶9; Ex. B, Declaration of Anthony Badon at ¶9.
49
   Ex. C, Stacey Badon Paystubs.


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FLSA Collective Class is particularly appropriate given the well-established lenient

standard for granting conditional certification within the Fifth Circuit.50

        In addition to these considerations, Plaintiff and members of the FLSA Collective

Class are precisely the type of workers that the FLSA’s collective action mechanism was

designed to protect.51 “A collective action allows . . . [p]laintiffs the advantage of lower

individual costs to vindicate rights by the pooling of resources. The judicial system

benefits by efficient resolution in one proceeding of common issues of law and fact

arising from the same alleged... activity.”52 Accordingly, based on the applicable law, and

the facts alleged in the Collective Action Complaint, as verified by the declarations of

Plaintiff and Anthony Badon and Defendants’ own documents, this Court should grant

Plaintiff’s request for conditional certification.

     C. Notice To Potential Members Of The FLSA Collective Class Is Appropriate
        And Necessary To Protect Their Rights.

        “The judicial system benefits by the efficient resolution in one proceeding of

common issues of law and fact arising from the same alleged...activity.”53 For these

benefits to be realized, however, persons who have been aggrieved by the unlawful

conduct must be provided accurate and timely notice of the collective action so that they

can make informed decisions about whether to participate.54 Accordingly, the Court has

broad discretion to allow Plaintiff to notify putative members of the FLSA Collective that

they may choose to opt in to a suit.55


50
   See, e.g., Mooney v. Aramco Servs. Co., 54 F.3d 1207, 1213-14 (5th Cir. 1995), overruled on other
grounds, 539 U.S. 90, 123 (2003); Lang v. DirecTV, Inc., et al., No. 10-1085G1, 2011 WL 6934607, at *7
(E.D. La. Dec. 30, 2011).
51
   Hoffman-La Roche, Inc. v. Sperling, 493 U.S. 165, 170 (1989).
52
   Id.
53
   Hoffman-La Roche, 493 U.S. at 170.
54
   Id.
55
   Id. at 170-171.


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        Early distribution of the notice is essential in FLSA collective actions, because,

unlike in class actions under Fed. R. Civ. P. 23, the statute of limitations on FLSA claims

continues to run until potential plaintiffs affirmatively opt in to the action.56 Delaying

notification will cause serious prejudice to potential members of the FLSA Collective

Class because “every day that passes is a day of damages each potential opt-in plaintiff

will be unable to recover.”57 This consideration alone weighs heavily in favor of early

notification.58

        The evidence submitted shows that the potential members of the FLSA Collective

Class were not paid overtime hours for the hours they worked in excess of 40 per week.59

Therefore, these potential members of the FLSA Collective Class are losing out on their

claims for unpaid overtime and liquidated damages every day that passes and they are not

opted into this suit. Given this evidence, notice to members of the FLSA Collective Class

should be expedited, as delay threatens to destroy their ability to seek compensation for

numerous hours of work for which they were not paid.

        To avoid delay, Plaintiff proposes a notice plan similar to others that have been

approved by district courts within the Fifth Circuit.60 Plaintiff requests that the Court

approve the proposed notice form submitted herewith for distribution via U.S. Mail to the

last known address of the members of the FLSA Collective Class; via text message to the

56
   Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 916-917 (5th Cir. 2008); Lima, 493 F.Supp.2d at 798.
57
   Lynch v. United Servs. Auto. Ass’n, 491 F. Supp. 2d 357, 371 (S.D.N.Y. 2007).
58
   Id. (“Prompt court action is needed because potential opt-in plaintiffs’ claims are in risk of being
extinguished by the running of the statute of limitations”).
59
   Ex. A, Declaration of Lawrence Richardson at ¶¶8-10; Ex. B.
60
   See, e.g., Williams v. Bally’s 20 Louisiana, Inc., No. 05-5020, 2006 WL 1235904, at *3 (E.D. La. May 5,
2006) (180-day opt in period from order granting notice, with two weeks for the defendant to disclose
names and addresses); Recinos-Recinos v. Express Forestry, Inc., 233 F.R.D. 472, 482-483 (E.D. La. 2006)
(180-day opt in period from order granting notice, with 26 days for the defendant to provide names and
addresses); Johnson v. American Airlines, Inc., 531 F.Supp. 957, 961 (N.D. Tex. 1982) (finding direct mail
and posting on company bulletin boards was reasonable notice); Koviach, et al v. Crescent City Consulting,
et al, No. 14-2874 (E.D.La)(Rec. Doc. 62).


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last known telephone number for the members of the FLSA Collective Action Class and

to be posted in Defendants’ places of employment in an area readily visible to

employees.61 In addition, Plaintiff has submitted a proposed Opt-In Consent form for

putative FLSA Collective Class members to use to join in this action.62

           To facilitate notice to potential members of the FLSA Collective Class, Plaintiff

requests that the Court require Defendants to produce, within 14 days, a computer-

readable database that includes the names of all potential members of the FLSA

Collective Class, along with their last known mailing address and telephone number.

Based on this contact information, Plaintiff’s counsel will mail and text the Court-

approved notice and opt-in consent form to potential class members. Plaintiff further

proposes that potential members of the FLSA Collective Class be required to return their

signed consent forms to Plaintiff’s counsel within 120 days (received or postmarked)

after the date on which the notice and consent forms are mailed. Plaintiff’s counsel will

file the consent forms with the Court on an ongoing basis and no later than two weeks

after the end of this 120-day notice period.

IV.        CONCLUSION

           For the reasons set forth above, Plaintiff Stacey Badon respectfully requests that

the Court conditionally certify the FLSA Collective Class under the Section 216(b) of the

FLSA and authorize notice to allow potential members of the FLSA Collective Class to

opt in to preserve their rights.




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     See Ex. D, Proposed Notice.
62
     Ex. E, Proposed Opt-In Consent Form.


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                                  Respectfully submitted,



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